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                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                           SHERMAN DIVISION

      MELINDA PURDOM                                   §
                                                       §   Civil Action No. 4:18-CV-438
      v.                                               §   (Judge Mazzant/Judge Nowak)
                                                       §
      COMMISSIONER, SSA                                §

                      MEMORANDUM ADOPTING REPORT AND
               RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

             Came on for consideration the report of the United States Magistrate Judge in this action,

     this matter having been heretofore referred to the Magistrate Judge pursuant to 28 U.S.C. § 636.

     On September 29, 2020, the report of the Magistrate Judge (Dkt. #37) was entered containing

     proposed findings of fact and recommendations that Plaintiff’s post-judgment Application for

     Attorney’s Fees under the Equal Access to Justice Act (Dkt. #32) be granted in part and denied in

     part.

             Having received the report of the Magistrate Judge, and no objections thereto having been

     timely filed, the Court is of the opinion that the findings and conclusions of the Magistrate Judge

     are correct and adopts the Magistrate Judge’s report as the findings and conclusions of the Court.

             It is therefore ORDERED that Plaintiff’s Application for Attorney’s Fees under the Equal

     Access to Justice Act (Dkt. #32) is GRANTED IN PART and DENIED IN PART, and the
.    Commissioner is directed to pay ten thousand four hundred sixteen dollars and eighty-three cents

     ($10,416.83) as reasonable attorney’s fees, made payable to Plaintiff, with such payment to be

     mailed to Plaintiff’s counsel.

             IT IS SO ORDERED.
             SIGNED this 16th day of October, 2020.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES DISTRICT JUDGE
